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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

                                                                               APR
UNITED STATES OF AMERICA,
                                                                                              ,,,3   ,




v.                                                      CASE NO. 3:10CR00308-0021


LUIS ZUNIGA-GALVAN,
                      Defendant.



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon


the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter


was presented to the court upon the written consent of the Defendant and counsel for the


Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that he consented to not only having the Magistrate Judge conduct the


hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge


make necessary findings and accepting any guilty plea as may be entered that could not be


withdrawn except Ibr fair and just reason.


         The Defendant pled guilty to Count One of the Third Superseding Indictment in open

court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements


made by the Defendant under oath, on the record, and based upon the written plea agreement and

statement of facts presented, the court makes the following findings:


        1.     That the Defendant is competent to enter a plea of guilty;


       2.      That the Defendant understands the nature of the charge against him to which his
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          plea is offered;


     3.   That the Defendant understands what the maximum possible penalties are upon


           conviction of the offense charged, including any mandatory minimum periods of


           confinement, the effect of any required term of supervised release, the loss of


           various civil rights (if applicable, including the right to vote, the right to hold


           public office, the right to own and possess a firearm), the possibility of adverse


           immigration consequences (if applicable), the required imposition of a special


           assessment, forfeiture of real and/or personal property (if applicable), and


           restitution (if applicable);


     4.    That the sentencing court has jurisdiction and authority to impose any sentence


           within the statutory maximums provided, but that the court will determine the


           defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the

           court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


           sentence above or below the advisory sentencing range, subject only to review by


           higher courts for reasonableness;


     5.    That the Defendant understands his right to persist in a plea of not guilty and


           require that the matter proceed to trial with all the rights and privileges attending a


           trial, including, but not limited to: the right to effective assistance of counsel; the

           right to use the power and processes of the court to compel evidence on the

           Defendant's behalf; the right to confront and cross-examine adverse witnesses; the

           right to present relevant evidence; the right to remain silent; and the right to trial

           by jury;


     6.    That the Defendant understands that he is waiving any right to appeal whatever
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              sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

              as said sentence does not exceed the total statutory penalties provided;


       7.     Thai the Defendant understands all provisions of the written plea agreement


              which was reviewed in essential part with the Defendant during the proceeding;


       8.     That the plea of guilty entered by the Defendant was knowingly and voluntarily


              entered and is not the result of force or intimidation of any kind; nor is it the result


               of any promises other than the representations set forth in the plea agreement; and


       9.      That the plea of guilty entered by the Defendant was knowingly and voluntarily


               made with full knowledge of the consequences and with an independent basis in


               fact to support said plea.


       Accordingly, the court accepted the Defendant's plea of guilty to Count One of the Third


Superseding Indictment and entered judgment of guilt on the subject charge. It is therefore the


recommendation of this court that its findings, including the acceptance of the Defendant's plea


of guilty and resulting judgment of guilt, be adopted.




                                                                   /s/
                                                         M. Hannah Lauck
                                                      United States Magistrate Judge



Dated: April 8,2011
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                                          NOTICE


       The Defendant is advised that he/she may file specific written objection to this


report and recommendation with the court within fourteen (14) days of this date. If


objection is noted, the party objecting must promptly arrange for the transcription of the


relevant record and file it forthwith with the court for its use in any review. Failure to


object in accordance with this notice, including the requirement for preparation of a


transcription of the relevant portions of the record, will constitute a waiver of any right to


de novo review of the matter and may result in adoption of the recommendation, including


the finding of guilt as entered by the magistrate judge.
